885 F.2d 871
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.In re Howard M. JOHNSON, Sr.;  Peggy M. Johnson, Debtors.Howard M. JOHNSON, Sr.;  Peggy M. Johnson, Plaintiffs-Appellants,v.TRANSAMERICA FINANCIAL SERVICES, INC., Defendant-Appellee
    No. 89-3088.
    United States Court of Appeals, Sixth Circuit.
    Sept. 22, 1989.
    
      1
      Before DAVID A. NELSON and RYAN, Circuit Judges, and RONALD E. MEREDITH, District Judge.*
    
    ORDER
    
      2
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      3
      IT IS ORDERED that the judgment of the district court be, and it hereby is, AFFIRMED upon the authority of In Re:  Colegrove, 771 F.2d 119 (6th Cir.1985).
    
    
      
        *
         The Honorable Ronald E. Meredith, United States District Judge for the Western District of Kentucky, sitting by designation
      
    
    